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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

Margaret Fromm,                               Civil File No. 0:18-cv-03197 (MJD/SER)

                         Plaintiff,

vs.                                               DEFENDANT’S NOTICE OF
                                               HEARING ON MOTION TO DISMISS
Delta Air Lines, Inc.,                             AMENDED COMPLAINT

                         Defendant.


TO:    Plaintiff Margaret Fromm and her attorneys of record: Brian Mildenberg,
       Mildenberg Law Firm, 1735 Market St., Suite 3750, Philadelphia, PA 19103;
       Matthew Weisberg, Weisberg Law, 7 South Morton Ave, Morton, PA 19070; and
       Michael Bryant, Bradshaw & Bryant, PLLC, 1505 Division Street, Waite Park, MN
       56387.

       PLEASE TAKE NOTICE that on July 30, 2019 at 10:00 a.m., before The Honorable

Steven E. Rau at the United States District Court, 346 Warren E. Burger Federal

Courthouse, 316 N. Robert Street, St. Paul, MN, 55101, and pursuant to Rule 12(b)(6) of

the Federal Rules of Civil Procedure, Defendant Delta Air Lines, Inc. will move the Court

for an Order dismissing all of Plaintiff Margaret Fromm’s claims in the above-captioned

case for failure to state a claim upon which relief may be granted.

Dated: April 9, 2019                           DORSEY & WHITNEY LLP


                                               By /s/ JoLynn M. Markison
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